                                          Entered on Docket
                                          November 15, 2016
                                          EDWARD J. EMMONS, CLERK
                                          U.S. BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF CALIFORNIA


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                                       Signed and Filed: November 15, 2016
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                                      ________________________________________
 7                                  THOMAS BANKRUPTCY
                            UNITED STATES  E. CARLSON U.S. COURT
                                                           Bankruptcy Judge

 8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   In re                              )
                                        ) Bankruptcy Case
10   YELLOW CAB COOPERATIVE, INC.,      ) No. 16-30063 DM
     aka All Taxi Electronics,          )
11                                      ) Chapter 11
                                        )
12                                      )
                               Debtor.  )
13   ___________________________________)
14                 ORDER FOR APPOINTMENT OF CHAPTER 11 TRUSTEE
15           Upon due consideration, and for the reasons stated on the
16   record at the November 15, 2016 hearing, the United States Trustee
17   is hereby ordered to appoint a chapter 11 trustee in the above-
18   entitled case.
19                                   **END OF ORDER**
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Case: 16-30063   Doc# 416   Filed: 11/15/16   Entered: 11/15/16 14:56:09     Page 1 of 1
